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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                CIVIL NO: _______________

JENNIFER THOMAS,                                                     Plaintiff


vs.


THE SCHREIBER LAW FIRM, LLC,                                         Defendant

Serve:
Dial, Edward C, Jr Esq
53 Stiles Road SA102
Salem, NH 03079

                                         COMPLAINT

         NOW COMES Plaintiff, JENNIFER THOMAS (“Plaintif”), by and through her attorneys,

KROHN & MOSS, LTD., and for her Complaint against Defendant, THE SCHREIBER LAW

FIRM, LLC (“Defendant”), alleged and affirmatively states as follows:

                                       INTRODUCTION

         1.    Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”).

                                            PARTIES

         2.    Plaintiff is an individual who was at all times relevant hereto residing in the State

of Kentucky, County of Fayette.

         3.    Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term in defined by 15 U.S.C. §

1692a(5).

         4.    Defendant is a business entity with a business office located at 53 Stiles Road,

Suite A102, Salem, New Hampshire 03079.



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        5.      Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to

collect a consumer debt from Plaintiff.

        6.      Defendant has acted though its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                 JURISDICTION AND VENUE

        7.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court supplemental

jurisdiction over the state claims contained therein.

        8.      Defendant conducts business in the State of Kentucky establishing personal

jurisdiction.

        9.      Venue is proper under 28 U.S.C. § 1391(b)(2).

                                      FACTUAL ALLEGATIONS


        10.     Prior to filing this action, Defendant was assigned an account from a third party

company to collect monies from Plaintiff which were alleged to be owed and past due (“debt”).

        11.     Upon information and belief, the debt arises from transactions on a credit card

that were for personal, family and household purposes.

        12.     In connection with its collection attempts, Defendant places telephone calls to

Plaintiff at her place of employment and on her cellular telephone at telephone number (303)

885-44xx (“collection call”).

        13.     Plaintiff has set up a voicemail system for callerts to leave a message for him if a

call is not answered.

        14.     In or around October or 2013, Defendant placed a collection call to Plaintiff that

was not answered.



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       15.     Accordingly, Defendant left Plaintiff a message on his voice mail. See Exhibit A.

       16.     Defendant’s employee, a male individual identifying himself as Eric Mattis,

addressed Plaintiff, stated that he was with the Schreiber Law Office and that he needed to speak

with Plaintiff “as soon as possible,” instructing her to call (267) 525-7065 and providing

reference ID 1619881. See Exhibit A.

       17.     Defendant never stated that it, or its collector(s), were debt collectors in the

message. See Exhibit A.

       18.     Defefenant never stated in the message the purpose its law firm was calling her or

asking her to call back “as soon as possible.” See Exhibit A.

       19.     Defendant purposefully did not inform Plaintiff that it was a debt collector.

       20.     The reason Defendant withheld from Plaintiff that it was a debt collector was to

deceive or mislead her into calling Defedant so that Defendant could attempt to collect monies

from her.

                                   COUNT I
          DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

       21.     Defendant violated the FDCPA based on the following:

               a) Defendant violated §1692e(10) of the FDCPA by using false representations

                  and/or deceptive means to attempt to collect a debt.

               b) Defendant violated §1692e(11) of the FDCPA by failing to disclose it its

                  voicemail message that it is a debt collector.

                                        PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, JENNIFER THOMAS, respectfully requests judgment be entered

against Defendant, THE SCHREIBER LAW FIRM, LLC, for the following:

       22.     Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

§1692k;


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       23.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §1692k;

       24.    Any other relief that this Honorable Court deems appropriate.



                                           Respectfully Submitted,

                                           JENNIFER THOMAS



                                           By: /s/ Shireen Hormozdi
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